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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


  MICHAEL C. TRIMARCO                           )
                                                )
         Plaintiff,                             )
                                                )
  v.                                            )              Case No. 1:20-cv-01408-RGA
                                                )
                                                )
  MICHAEL T. FARLEY et al                       )
                                                )
         Defendants.                            )
                                                )


          PLAINTIFF’S MEMORANDUM IN OPPOSITION
           TO DEFENDANT’S MOTION TO DISQUALIFY
         Plaintiff, Michael C. Trimarco, by counsel, respectfully submits this

  Memorandum in Opposition to Defendant, Michael T. Farley’s (“Farley”),1 motion to

  disqualify and/or objection to motion for pro hac admission. [ECF No. 17].

         1.      Plaintiff is a graduate of Cornell and the Harvard Business School. He is a

  father of three, WTC 9/11 survivor, responder, successful entrepreneur and businessman.

  This action arises out of multiple false and defamatory statements published by

  Defendant Farley between March and October 2020 about Plaintiff. Farley’s statements

  evince an animosity, hatred, spite and ill-will for Plaintiff that is rarely seen, let alone

  expressed in letters to third-parties. [ECF No. 1 (“Compl., ¶¶ 1, 2)].

         2.      Farley’s personal feelings for Plaintiff have bled over to Plaintiff’s counsel

  of choice, Steven S. Biss.



         1
                 Mr. Farley is an attorney, but he is acting pro se in this action. His motion
  to disqualify employs the word “we” is several places, but it is solely filed by him.

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         3.      Mr. Biss is an active member in good standing of Virginia State Bar. He

  is admitted to practice before the Virginia Supreme Court and all State trial courts in the

  Commonwealth of Virginia, the United States District Court for the Eastern District of

  Virginia, the United States District Court for the Western District of Virginia, the United

  States Bankruptcy Court for the Eastern District of Virginia, the United States

  Bankruptcy Court for the Western District of Virginia, the United States Court of

  Appeals for the Fourth Circuit, and several other Courts in the United States.

         4.      Mr. Biss has applied for admission to appear pro hac vice in numerous

  cases, including Kesner v. Dow Jones & Company, Case 1:20-cv-03454 (S.D.N.Y.)

  (pending), DJ Lincoln Enterprises, Inc. v. Google, Case 2:20-cv-14158 (S.D. Fla.)

  (pending), NuStar Farms v. Lizza, Case 5:20-cv-04003 (N.D. Iowa) (pending), Harvey v.

  CNN, 1:20-cv-03068 (D. Md.) (pending), Nunes v. Washington Post, 1:20-cv-01403 (D.

  D.C.), Nunes v. CNN, Case 1:20-cv-03976 (S.D.N.Y.), and others. All applications were

  granted. Mr. Biss has never been denied admission to appear and practice in any Court.

         5.      Mr. Biss graduated from Princeton University in 1987 with Honors and

  numerous academic awards. He is sole practitioner with an office in Charlottesville,

  Virginia. Prior to establishing his own firm in 2000, he was a partner in the law firm,

  Maloney, Huennekens, Parks, Gecker & Parsons, in Richmond, Virginia. Mr. Biss is an

  experienced trial lawyer, with a national practice focused on defamation, libel, slander,

  complex business and tort litigation. Over the course of his 29+ year career, he has

  successfully litigated to verdict/judgment hundreds of cases involving the kinds of

  claims, disputes and legal issues involved in this proceeding. A copy of his current

  resume is attached hereto as Exhibit “A”.



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           6.    In 2009, Mr. Biss was temporarily suspended from the practice of law in

  Virginia. He vouched for the representations of a client, whom he did not know well, and

  the representations turned out to be inaccurate. He acknowledged the error and accepted

  a suspension. In 2009, while his license was suspended, he assisted a client with an

  insurance claim, which he learned he was not permitted to do. His license was suspended

  for an additional month as a result. In 2010, Mr. Biss agreed to a public reprimand in

  order to resolve a disputed allegation of a conflict of interest made by an opposing party

  against whom Mr. Biss had obtained a $1,100,000 jury verdict. Mr. Biss’ license was

  fully restored in 2010, and it has been active and in good standing in all jurisdictions

  since.

           7.    The motion to disqualify should be denied for the following reasons:

                 a.     Pursuant to Local Rule 83.5, Mr. Biss certifies (1) that he is

  eligible for admission to this Court, (2) that he is admitted, practicing and an active

  member in good standing of the Virginia State Bar and the United States District Court

  for the Eastern District of Virginia, (3) that he has been admitted pro hac vice and is lead

  counsel in defamation cases currently pending in Florida, Iowa, Maryland, New York and

  the District of Columbia, and he has never been denied admission to practice in any

  Court, and (4) that pursuant to Local Rule 83.6, he submits to the disciplinary jurisdiction

  of this Court for any alleged misconduct which occurs in the preparation or course of this

  action. Mr. Biss has reviewed and is familiar with this Court’s Local Rules.

                 b.      Ryan M. Ernst, Esquire, a member of the Bar of this Court,

  respectfully moves for the admission pro hac vice of Mr. Biss, and will serve as

  Delaware counsel in this action.



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                  c.      In almost 30 years of successful practice and representation of

  hundreds of clients in contentious actions, this is the first time a party or opposing

  counsel has ever opposed a motion to admit Mr. Biss pro hac vice. Mr. Biss is regularly

  commended by Federal and State Courts for his performance. He has obtained multiple

  million dollar verdicts and judgments for clients. Mr. Biss does not have a reputation for

  filing “frivolous lawsuits”2 or incivility.

                  d.      Plaintiff’s Complaint in this case states claims of defamation, false

  light and civil conspiracy upon which relief can be granted.          Plaintiff’s claims are

  anything but frivolous. Indeed, Mr. Farley appeared and filed an answer. It is regrettable

  that Mr. Farley has chosen to personally attack Mr. Biss and cast aspersions on his

  character and competence as an attorney. Mr. Biss denies the false claims.3 No purpose

  would be served by engaging with Mr. Farley or debating the matter.




          2
                 Mr. Farley claims that Mr. Biss filed a “frivolous lawsuit” over an
  “imaginary cow”. [Mot., pp. 6, 18]. This is not true. The lawsuit in question is Nunes v.
  Twitter, Case CL19-1715 (Henrico County Virginia) (pending). Far from being a
  frivolous lawsuit, Mr. Biss successfully defeated the defendants’ motions to dismiss for
  lack of personal jurisdiction and venue. A copy of the Court’s Letter Opinion is attached
  as Exhibit “B”. Mr. Farley’s motion to disqualify is built, in large part, on articles he
  found on the Internet written by third-parties. [See, e.g., Mot., p. 6 fn. 4, 9, 19]. While
  there was a question raised in 2004 in the Illinois case concerning the scope of Mr. Biss’
  representation of certain clients, the Court did not sanction Mr. Biss or refer the matter to
  any Bar, and the issue was resolved. Mr. Farley suggests that the Illinois action was also
  “wholly meritless”, but a review of the record demonstrates that the District Court denied
  in part defendants’ motion to dismiss. Ray v. Citigroup, 2003 WL 22757761 (N.D. Ill.
  2003).

          3
                 In footnote 5 of his motion, Mr. Farley alleges that “[w]e respectfully note
  that Biss filed post-judgment litigation against the defendants.” This is not true. On
  behalf of his client, Mr. Biss pursued an appeal to the Fourth Circuit Court of Appeals.
  That Appeal is pending.


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                                       CONCLUSION

         This is a complex case and it will no doubt be contentious. There is no place in

  this or any other case for insults or aspersions. Mr. Biss is eminently qualified to litigate

  and try this case. He is Plaintiff’s counsel of choice. Motions to disqualify the lead

  attorney in any case are gravely subject to abuse. Litigation tactics motivated by a desire

  to cause great hardship to a party should not be countenanced.

         Plaintiff respectfully requests the Court to deny Defendant Farley’s motion and to

  grant Plaintiff’s motion for the admission of Mr. Biss pro hac vice.



  DATED:         March 10, 2021



                                MICHAEL C. TRIMARCO



                                By:     /s/ Ryan M. Ernst
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                                        (Motion for Admission Pro Hac Vice Filed)

                                        Counsel for the Plaintiff



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           IN THE DISTRICT COURT FOR THE DISTRICT OF DELAWARE

                                                        )
 MICHAEL C. TRIMARCO                                    )
                                                        )
                                  Plaintiff,            )
                                                        )
                                                        )
                             v.
                                                        )   C.A. No. 1:20-cv-01408-RGA
                                                        )
 MICHAEL T. FARLEY, SHAWN                               )
 PATRICK CARDEN, MICHAEL A                              )
 HILMER, CHRIS CICOLINI, and                            )
 ASHISH KAPOOR                                          )
                                                        )
                                  Defendant.


                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 10, 2021 a copy of the foregoing Plaintiff's

Memorandum in Opposition to Defendant's Motion to Disqualify was filed electronically

using the Court’s CM/ECF system, which will send notice of electronic filing to the

Defendants and all interested parties receiving notices via CM/ECF. I also hereby certify and

attest that I have served a true and correct copy of the foregoing filing upon the counsel

listed below via email:

       Chris Cicolini                                         Michael T. Farley
       6886 Woodrise Rd                                       One Courthouse Square
       New Market, MD 21774                                   Newport, RI 02840


                                               BIELLI & KLAUDER, LLC

Dated: March 10, 2021                          /s/ Ryan E. Ernst
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